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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


 BLACKSHORE PROPERTIES,INC.,

                 Plaintiff,

          V.                                                    l:18-cv-1325(LMB/JFA)

 EQN.COM,an Internet domain name, etaL,

                 Defendants.

                                              ORDER


         Blackshore Properties, Inc.("plaintiff)filed this civil action against two defendants:

John Doe("Doe"), an unknown individual who is alleged to have unlawfully hijacked plaintiffs

domain name; and EQN.com,the domain name in question. Before the Court is a magistrate

judge's Proposed Findings of Fact and Recommendations [Dkt. No. 17](the "Report")

recommending that the Court enter a defaultjudgment against EQN.com and order that the

domain name EQN.com be returned to plaintiff. The Court has reviewed the Report and will

adopt its findings and recommendations in full.

         Plaintiff acquired the domain name EQN.com in May 2011 and transferred the domain

name to the registrar Enom,Inc.("Enom"). Report 2. Although plaintiffs Enom account is

protected by a user name and password. Doe managed to gain unauthorized access to the account

and transferred the registration for EQN.com to 22.cn, a registrar that is commonly used in

domain name theft schemes. Id. Plaintiff was not aware of and did not approve that transfer. Id

As a result ofthe unauthorized transfer. Doe now has control over the domain name and has

prevented plaintiff from accessing or controlling the domain name or the website associated with

it. Id. at 2.
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        Plaintiff filed a five-count complaint against Doe and EQN.com (together,"defendants")

in October 2018, asserting inrem claims against EQN.com under the Anticybersquatting

Consumer Protection Act(the "ACPA")(Count I) and state-law quiet title doctrine(Count II) as

well as multiple in personam claims against Doe under state and federal law (Counts III through

V). Plaintiff moved for service of process on defendants by publication under Fed. R. Civ.

P. 4(n)(l) and 15 U.S.C. § 1125(d)(2)(A)(ii)(lI), and the Court granted that motion on October 8,

2018, informing defendants that a responsive pleading would be due within 21 days ofthe date

of publication. Notice of this action was published in The Washington Times on November 12,

2018. Neither EQN.com nor Doe filed a responsive pleading within the 21-day deadline, and to

date neither ofthe defendants has entered an appearance. Accordingly, the Clerk entered default

against defendants on December 10, 2018.

        On December 19, 2018, plaintiff moved for defaultjudgment against EQN.com.

Specifically, plaintiffs motion sought an order (i) entering ajudgment against EQN.com on

plaintiffs ACPA claim (Count I),(ii) dismissing Counts II through V without prejudice,

(iii) directing VeriSign, Inc.("VeriSign")to transfer the domain name EQN.com to Enom,and

(iv) directing Enom to ensure that plaintiff is listed as the rightful registrant for that domain

name.



        The magistrate judge issued the Report on January 11, 2019, in which he correctly

determined that the Court has subject matter jurisdiction over this dispute under 28 U.S.C.

§ 1331; that in rem jurisdiction over EQN.com is proper under 15 U.S.C. § 1125(d)(2)(A); and

that venue is proper in this district under 15 U.S.C. § 1125(d)(2)(C). The magistrate judge also
correctly found that service of process on defendants was proper under Fed. R. Civ. P. 4(n)(l)
and 15 U.S.C. § 1125(d)(2)(A)(ii)(II). Finally, the magistrate judge found that based on the
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allegations in the verified complaint—which are deemed to be admitted because of defendants'

default—^plaintiff had established that it is the rightful owner of EQN.com and the associated

trademark, that Doe had a bad-faith intent to profit from using that domain name, and that the

domain name Doe was using was identical to plaintiffs distinctive mark. Accordingly, the

magistrate judge recommended that the Court enter defaultjudgment against EQN.com under the

AGFA and grant relief, pursuant to 15 U.S.C. § 1125(d)(1)(C), requiring that the domain name

be returned to plaintiff. The Report required that notice be sent to defendants and advised the

parties that any objections had to be filed within 14 days and that failure to file a timely objection

waives a party's right to appeal the substance ofthe Report or any judgment based thereon. As of

the date of entry ofthis Order, no party has filed an objection.

       Having carefully reviewed the Report, the Court adopts the findings of fact and

conclusions of law contained in the Report as its own. Accordingly, plaintiffs Motion for

Default Judgment [Dkt. No. 13] is GRANTED; Counts II, III, IV, and V of plaintiffs complaint

[Dkt. No. 1] are DISMISSED WITHOUT PREJUDICE; and it is hereby

       ORDERED that default judgment on Count I of plaintiffs complaint be and is

ENTERED against defendant EQN.com and in favor of plaintiff; and it is further

       ORDERED that VeriSign shall transfer the domain name EQN.com from the current

registrar to Enom; and it is further

       ORDERED that Enom shall take all necessary steps to ensure that plaintiff is listed as the

registrant for the domain name EQN.com.

       To appeal this decision, a party must file a written notice of appeal with the Clerk ofthis

Court within 30 days ofthe date of entry of this Order. A notice of appeal is a short statement
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indicating a desire to appeal an order and identifying the date ofthe order the party wishes to

appeal. Failure to file a timely notice of appeal waives the right to appeal this decision.

       The Clerk is directed to enter judgment, under Fed. R. Civ. P. 55, in favor of plaintiff on

Count I of its complaint; to forward copies of this Order to counsel of record and to defendants;

and to close this civil action.


        Entered this 28 day of January, 2019.

Alexandria, Virginia




                                                      Leonie M.Brinkema
                                                      United States District Judge
